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                         EXHIBIT 1
  Case 2:20-cv-03843-BMC Document 34-1 Filed 07/20/21 Page 2 of 12 PageID #: 1222
Michel v. Yale University, Slip Copy (2021)


                                                                   1      The court accepts as true the well-pleaded facts
                  2021 WL 2827358                                         alleged in the Amended Complaint but does not
    Only the Westlaw citation is currently available.
                                                                          credit conclusory allegations. See Crawford
     United States District Court, D. Connecticut.
                                                                          v. Cuomo, 796 F.3d 252, 256 (2d Cir. 2015);
        Jonathan MICHEL, on Behalf of Himself                                 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
       and All Others Similarly Situated, Plaintiff,               Yale is a private, Ivy League educational institution located in
                           v.                                      Connecticut. See Amended Complaint (“Am. Compl.”) ¶¶ 16,
            YALE UNIVERSITY, Defendant.                            19 (Doc. No. 37). Approximately 13,609 students are enrolled
                                                                   at the University across its fourteen constituent schools. Id.
          CIVIL CASE NO. 3:20-CV-01080 (JCH)
                                                                   ¶ 19. The plaintiff numbers among them. Id. ¶ 1. A citizen
                           |
                                                                   and resident of Ohio, Michel paid tuition and fees and was
                   Signed 07/07/2021
                                                                   enrolled as a full-time student at Yale for the Spring 2020
Attorneys and Law Firms                                            academic semester. Id. ¶¶ 18, 28.

David A. Searles, Edward Skipton, James A. Francis, John           For most of the Spring 2020 semester, Michel's classes were
Soumilas, Francis Mailman Soumilas, P.C., Philadelphia, PA,        conducted in-person. See id. ¶ 5. However, in response to
Sarah Poriss, Sarah Poriss Attorney at Law, LLC, Hartford,         the COVID-19 pandemic, Yale ceased in-person instruction
CT, Yvette Golan, The Golan Firm, Washington, DC, for              beginning March 10, 2020, and transitioned to virtual
Plaintiff.                                                         instruction for the remaining five weeks of the semester. Id. ¶¶
                                                                   6, 30-31. The University also closed its campus and facilities
Benjamin M. Daniels, Robinson & Cole LLP Hartford, CT, I           for the duration of the semester. Id. ¶¶ 5, 11, 30, 32.
Jonathan Freiman, Wiggin and Dana LLP, Kim E. Rinehart,
Wiggin & Dana, New Haven, CT, for Defendant.                       Michel alleges that his payment of tuition and fees secured
                                                                   Yale's promise to provide in-person instruction and access
                                                                   the University's facilities. Id. ¶¶ 9, 12, 21. He points to
RULING ON DEFENDANT'S MOTION TO DISMISS                            various documents and publications as setting forth the terms
                                                                   of Yale's promise. First, each class in Yale's course catalog
Janet C. Hall, United States District Judge                        specifies the physical classroom in which the course will
                                                                   be held. Id. ¶ 22. Second, Yale's Handbook for Instructors
I. INTRODUCTION
                                                                   of Undergraduates in Yale College 2020-2021 requires that
 *1 Plaintiff Jonathan Michel (“Michel”) brings this
                                                                   changes in course format be reviewed and approved by a
putative class action against Yale University (“Yale” or “the
                                                                   committee of University faculty. See id. ¶ 23. Third, Yale's
University”) alleging breach of contract, unjust enrichment,
                                                                   Faculty Handbook states that teaching faculty are “expected”
and violation of the Connecticut Unfair Trade Practices Act
                                                                   to be on campus “most days of the work week” and “must
(“CUTPA”), Conn. Gen. Stat. § 42-110a et seq. A student at
                                                                   remain on campus during reading and examination periods.”
Yale, Michel brings claims arising out of Yale's decision not
                                                                   Id. ¶ 24. Fourth, Yale promotes its Residential College
to partially refund his tuition and fees after the University
                                                                   housing system as “the heart of the Yale experience.” Id. ¶
transitioned from in-person to virtual instruction in response
                                                                   25. The University emphasizes that, through the residential
to the COVID-19 pandemic. Yale moves to dismiss Michel's
                                                                   colleges, undergraduate students will become part of an on-
Amended Complaint pursuant to           Federal Rule of Civil      campus community and have access to facilities such as
Procedure 12(b)(6).                                                libraries, gyms, dining halls, and other spaces. Id. Finally,
                                                                   Yale's undergraduate regulations applicable to the Spring
For the reasons set forth below, the court grants Yale's Motion.   2020 semester (“Undergraduate Regulations”) stated that, if
                                                                   the University decided to suspend programs or operations
                                                                   due to public health or other safety concerns, it would issue
II. BACKGROUND 1                                                   “appropriate refunds ... as may in its judgment be warranted.”
                                                                   Id. ¶ 26.




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 *2 Michel alleges that the online education he received            needed to make alternative arrangements” such as applying
the final five weeks of the Spring 2020 semester was not            to another program, id. ¶ 34. Yale likewise did not refund any
as valuable as the in-person experience for which he paid.          of the tuition or fees Michel paid for the Fall 2020 semester.
Id. ¶ 12 (“[R]emote online learning cannot provide the              See id. ¶¶ 14, 49.
same value as in-person education.”); id. ¶ 39 (“Yale's move
to online-only classes deprived students of [the on-campus          On October 16, 2020, Michel filed an Amended Complaint
experience] ... which provided considerable value.”); id. ¶ 43      alleging breach of contract (Count One), unjust enrichment
(“In-person education is worth more than online education.”).       (Count Two), and violation of CUTPA (Count Three). Id.
In support, the Amended Complaint cites a 2017 study that
                                                                    ¶¶ 59-82. Pursuant to    Federal Rule of Civil Procedure
found that online courses do not “promote academic success”
                                                                    23, he seeks to certify a class defined as: “Any person
to the extent that in-person courses do. Id. ¶ 38. Yale also
                                                                    who paid or caused to be paid tuition and/or fees to
charges more for in-person instruction than it does for online
                                                                    attend Yale University when classes and/or coursework
instruction. Id. ¶¶ 44-45. For example, Yale offers an in-
                                                                    were limited in whole or in part to online attendance as
person Women's Leadership Program through its business
                                                                    a result of or in connection with COVID-19.” See id. ¶
school that costs $7,000, whereas the live, online version of
                                                                    51. Yale has moved to dismiss the Amended Complaint.
that same program costs $4,950. Id. ¶ 46. The online version
                                                                    Motion to Dismiss Amended Complaint (“Mot. to Dismiss”)
of the program that is not live costs even less, $2,800. Id. 2      (Doc. No. 41). Michel opposes Yale's Motion. Plaintiff's
                                                                    Opposition to Defendant's Motion to Dismiss Amended
2       Michel also alleges that Yale does not permit               Complaint (“Opposition”) (Doc. No. 46). 3 In addition, both
        students transferring from other institutions to            parties have submitted numerous additional authorities in
        transfer credits for online courses. However,               support of their respective positions. See Plaintiff's Notice
        the Yale publication cited in support of this               of Supplemental Authority (Doc. No. 49); Plaintiff's Second
        allegation explicitly states that “[o]nline courses         Notice of Supplemental Authority (Doc. No. 54); Plaintiff's
        from other universities may be eligible for                 Third Notice of Supplemental Authority (Doc. No. 59);
        Yale credit under limited conditions.” See                  Plaintiff's Fourth Notice of Supplemental Authority (Doc. No.
        Yale University, Yale College Programs of                   62); Plaintiff's Fifth Notice of Supplemental Authority (Doc.
        Study Fall and Spring Terms 2019-2020,                      No. 66) 4 ; Defendant's Notice of Supplemental Authority
        115 BULL. YALE UNIV. 4, 85 (June 30,                        (Doc. No. 57); Defendant's Second Notice of Supplemental
        2019), https://bulletin.yale.edu/sites/default/files/       Authority (Doc. No. 61); Defendant's Third Notice of
        ycps-2019-2020.pdf. Those conditions include                Supplemental Authority (Doc. No. 64); Defendant's Fourth
        “regular, synchronous interaction with the                  Notice of Supplemental Authority (Doc. No. 65); Defendant's
        instructor” and “regular feedback.” Id. The court           Fifth Notice of Supplemental Authority (Doc. No. 67);
        therefore does not credit Michel's allegation that          Defendant's Sixth Notice of Supplemental Authority (Doc.
        online course credits from other institutions are not       No. 68); Defendant's Seventh Notice of Supplemental
        transferrable to Yale.                                      Authority (Doc. No. 69).
Despite the difference in “value” between the educational
experience promised and that provided, Yale has refused to          3       Unless otherwise noted, the court's page citations to
refund any of Michel's tuition or fees for the Spring 2020                  the parties’ briefs refer to those documents’ original
semester. Id. ¶¶ 7, 35, 49. The Amended Complaint makes no                  pagination.
allegation as to whether the University refunded monies paid
for room and board.                                                 4       Michel incorrectly entitles this submission his
                                                                            “Third Notice of Supplemental Authority.”
On July 1, 2020, Yale announced that it would continue with
online instruction for nearly all courses for the Fall 2020         III. LEGAL STANDARD
semester. Id. ¶ 33. Fall semester classes began roughly two
                                                                     *3 When deciding a motion to dismiss pursuant to           Rule
months later. Id. ¶ 34. Michel, who was enrolled as a full-time
                                                                    12(b)(6), the court must determine whether the plaintiff has
student during the Fall 2020 semester, id. ¶ 18, alleges that the
                                                                    stated a legally cognizable claim by making allegations that,
timing of Yale's announcement “did not give students the time
                                                                    if true, would show that the plaintiff is entitled to relief. See


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                                                                    filed dozens—perhaps hundreds—of lawsuits alleging breach
   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007).
                                                                    of contract and unjust enrichment, among other claims.
The court takes all factual allegations in a complaint as true
                                                                    See, e.g., In re Columbia Tuition Refund Action, No. 20-
and draws all reasonable inferences in the plaintiff's favor.
                                                                    CV-3208 (JMF), 2021 WL 790638 (S.D.N.Y. Feb. 26, 2021);
See Crawford v. Cuomo, 796 F.3d 252, 256 (2d Cir. 2015).
                                                                       Chong v. Northeastern Univ., No. CV 20-10844-RGS,
However, the tenet that a court must accept a complaint's
                                                                    2020 WL 7338499 (D. Mass. Dec. 14, 2020); Rhodes v.
allegations as true is inapplicable to “[t]hreadbare recitals
                                                                    Embry-Riddle Aeronautical Univ., Inc., No. 620-CV-927-
of the elements of a cause of action, supported by mere
                                                                    ORL-40EJK, 2021 WL 140708 (M.D. Fla. Jan. 14, 2021);
conclusory statements.”      Ashcroft v. Iqbal, 556 U.S. 662,       Nguyen v. Stephens Inst., No. 20-CV-04195-JSW, 2021 WL
678 (2009) (citing     Twombly, 550 U.S. at 555).                   1186341 (N.D. Cal. Mar. 30, 2021).

                                                                    Michel likewise brings claims sounding in breach of contract
To survive a      Rule 12(b)(6) motion, “a complaint must           and unjust enrichment, in addition to a CUTPA claim.
contain sufficient factual matter, accepted as true, to ‘state a    The court considers each in turn. However, the court
claim to relief that is plausible on its face.’ ”    Iqbal, 556     first considers Yale's principal, threshold argument that
                                                                    Michel's claims must be dismissed because they run afoul of
U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim
                                                                    Connecticut's educational malpractice doctrine.
has facial plausibility when the plaintiff pleads factual content
that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.”      Iqbal, 556       A. Educational Malpractice
                                                                    Yale principally argues that Michel's claims must be
U.S. at 678 (quoting     Twombly, 550 U.S. at 556). Dismissal       dismissed because each of them “rest[s] on the theory that
under     Rule 12(b)(6) is appropriate when “it is clear from       Yale's online courses were inferior to its in-person courses.”
the face of the complaint, and matters of which the court may       Mot. to Dismiss at 2. Relying on     Gupta v. New Britain
take judicial notice, that the plaintiff's claims are barred as a   General Hosp., 239 Conn. 574 (1996), Yale contends that
matter of law.” Associated Financial Corp. v. Kleckner, 480         claims so premised are “not cognizable because Connecticut
Fed. App'x 89, 90 (2d Cir. 2012) (quoting       Conopco, Inc.       does not recognize claims for ‘inadequate educational
v. Roll Int'l, 231 F.3d 82, 86 (2d Cir. 2000)).                     services.’ ” Mot. to Dismiss at 8 (quoting        Gupta, 239
                                                                    Conn. at 591); see also Mot. to Dismiss at 1-2, 8-13.
“In considering a motion to dismiss for failure to state a claim
pursuant to     Rule 12(b)(6), a district court may consider         *4 In Gupta, a surgical resident sued a hospital for
the facts alleged in the complaint, documents attached to           dismissing him from its residency training program, which
the complaint as exhibits, and documents incorporated by            dismissal the court concluded implicated the educational
reference in the complaint.” DiFolco v. MSNBC Cable                 (rather than employment) component of the residency
L.L.C., 622 F.3d 104, 111 (2d Cir. 2010) (internal quotation        agreement between the parties.    Gupta, 239 Conn. at 575,
marks and citations omitted); see also United States v. Strock,     589. In challenging his dismissal, the plaintiff argued that
982 F.3d 51, 63 (2d Cir. 2020) (same).                              the hospital breached the parties’ residency agreement by
                                                                    “fail[ing] to provide him a residency program that would
IV. DISCUSSION                                                      reasonably and adequately train him.”      Id. at 590.
The court begins its discussion by noting that this case has
company. In response to the COVID-19 pandemic, colleges             The court held that the plaintiff had failed to state a cause
and universities across the country closed their doors in the
                                                                    of action,   id. at 593, because his breach of contract claim
middle of the Spring 2020 semester and migrated course
                                                                    “raise[d] questions concerning the reasonableness of conduct
instruction from in-person classrooms to virtual ones. Many
                                                                    by educational institutions in providing particular educational
of these institutions, however, chose not to refund any
portion of students’ tuition or fees. Unhappy with these            services to students,” see    id. at 590. The court observed
decisions, students (and parents) around the country have           that, similar to “educational malpractice” claims sounding
                                                                    in tort, contract claims challenging the overall quality of


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educational services “involve the judiciary in the awkward          7350212, at *7 (concluding that claims were barred by the
tasks of defining what constitutes a reasonable educational         educational malpractice doctrine where plaintiffs had alleged
program and of deciding whether that standard has been              that the online education they received during the COVID-19
                                                                    pandemic was “not worth the amount charged” or “in any way
breached.” See     id. at 591-92. Such claims would require
                                                                    the equivalent of an in-person education”).
courts to “evaluate the course of instruction” and “review
the soundness of the [institution's] method of teaching[,] ...
                                                                     *5 Many more courts, however, have concluded that
a project that the judiciary is ill equipped to undertake.”
                                                                    COVID-19 tuition refund suits do not implicate the
   Id. at 590. In light of these concerns, the court rejected       educational malpractice doctrine. In Rhodes v. Embry-Riddle
the plaintiff's breach of contract claim based on inadequate        Aeronautical Univ., for example, the plaintiff sued his
educational services.     Id. at 593; see also      Tankoos         university for breach of contract and unjust enrichment,
v. Mead Sch. for Hum. Dev., No. X05CV 950145853S,                   among other claims, after it closed its facilities and
1999 WL 391350, at *1, 9 (Conn. Super. Ct. June 4,                  transitioned all classes from in-person to remote instruction
1999) (extending Gupta to an unjust enrichment claim based          in response to the pandemic. Rhodes, 2021 WL 140708,
on allegedly inadequate educational services); Wightwood            at *1. The defendant argued that the theory underlying
Sch. v. Fritz, No. 410060, 1999 WL 240727, at *3 (Conn.             the plaintiff's claims—“that the temporary transition to an
Super. Ct. Apr. 9, 1999) (“[T]he same policy considerations         online learning format is inferior to the in-person instruction
discussed in Gupta that militate against tort liability for         he previously received”—was not cognizable under the
educational malpractice generally militate against a CUTPA          educational malpractice doctrine. Id. at *4. The district court
claim grounded in educational malpractice.”).                       disagreed, concluding that plaintiff's claims were not for
                                                                    educational malpractice because “the essence of [his] claims
Courts have differed on whether COVID-19 tuition                    is that he contracted for in-person classes and received online
reimbursement suits implicate the educational malpractice           classes instead—a paradigmatic contract claim.” Id. The
doctrine. Some have answered in the affirmative. For                court stated that resolution of the plaintiff's claims would
instance, in Gociman v. Loyola Univ. of Chicago, a university       not require the court to examine the educational value or
transitioned to virtual instruction two months into the             academic adequacy of the online instruction provided by the
semester and closed its campus buildings in response to             university. Id.

the COVID-19 pandemic.            Gociman v. Loyola Univ. of        More recently, in a case in this district, Judge Dooley rejected
Chicago, No. 20 C 3116, 2021 WL 243573, at *1 (N.D.                 the educational malpractice doctrine's applicability to a
Ill. Jan. 25, 2021). Plaintiffs brought a putative class action     COVID-19 tuition reimbursement suit. Metzner v. Quinnipiac
against the school “seek[ing] damages representing the              University, No. 3:20-CV-00784 (KAD), 2021 WL 1146922
difference in value between in-person classes and access            (D. Conn. Mar. 25, 2021) (concluding that “the educational
to facilities, and the online education they received.” Id.         malpractice doctrine [is] inapposite to the theory of liability
The district court stated that “the theory underlying all of        alleged here”).
plaintiffs’ claims is that the education plaintiffs received once
defendant transitioned to remote instruction in response to         Numerous other courts analyzing similar claims have reached
the COVID-19 pandemic was ‘worth significantly less than            a similar conclusion. See, e.g., Hiatt v. Brigham Young
the value of live classes.’ ” Id. at *3 (brackets omitted).         Univ., No. 1:20-CV-00100 (TS), 2021 WL 66298, at *3
Resolution of those claims, the court continued, would              (D. Utah Jan. 7, 2021) (“Plaintiff is not asking the Court
therefore “require the Court to make judgments about the            to interfere in BYU's academic or pedagogical choices by
quality and value of the education defendant provided in            requiring BYU to provide in-person education or change
the Spring 2020 semester.” Id. at *3 (quoting       Lindner         its methods of education. Rather, Plaintiff is asking for a
v. Occidental Coll., No. CV 20-8481-JFW (RAOX), 2020                refund of tuition and/or mandatory fees for the breach of
WL 7350212, at *7 (C.D. Cal. Dec. 11, 2020)). The court             contract alleged. The requested relief does not require the
concluded that the plaintiffs’ claims were therefore barred         Court to ask BYU to change its operations or otherwise
                                                                    interfere in BYU's academic decisions, so this argument does
by the state's educational malpractice doctrine.      Gociman,
                                                                    not support granting the Motion.”); Oyoque v. DePaul
2021 WL 243573, at *3; see also            Lindner, 2020 WL
                                                                    Univ., No. 20 C 3431, 2021 WL 679231, at *2 (N.D.


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Ill. Feb. 21, 2021) (“Though portions of the plaintiffs’          at *4 (“Because these allegations primarily would impact the
allegations can be read as talking about the value of online      damages element of Plaintiff's contract claim, the Court is not
instruction, at its core the complaint's focus is breach of       persuaded that they form the “essence” of the Complaint, such
contract—whether DePaul provided the specific services it         that Plaintiff's claims should be barred entirely at this stage.”).
                                                                  In sum, the court concludes that the educational malpractice
allegedly promised.”);    Hassan v. Fordham Univ., No. 20-
                                                                  doctrine does not bar Michel's claims.
CV-3265 (KMW), 2021 WL 293255, at *3 (S.D.N.Y. Jan.
28, 2021) (“The Court holds that Plaintiff's claims are not
                                                                  5
barred by the educational malpractice doctrine, because they              By way of analogy, it can be said that the second
are sufficiently grounded in whether an alleged promise                   tallest person on Earth is not as tall as the first. That
for educational services was made and breached.”); In re                  is not the same as saying the second tallest person
Columbia Tuition Refund Action, No. 20-CV-3208 (JMF),                     on Earth is not tall.
2021 WL 790638, at *6 & n.5 (S.D.N.Y. Feb. 26, 2021) (“The
Court therefore joins the majority of district courts around          B. Breach of Contract 6
the country that have declined to hold, at least on a motion      6       In addition to the grounds for dismissal discussed
to dismiss (or judgment on the pleadings), that claims arising
                                                                          below, the court notes here that Michel's breach
from universities’ adoption of online instruction in response
                                                                          of contract claim fails for an arguably more
to the COVID-19 pandemic are barred under the educational
                                                                          fundamental reason. Namely, he has failed to allege
malpractice doctrine.”).
                                                                          that any of the contract-forming documents relied
                                                                          upon in the Amended Complaint even apply to him.
The court agrees with the weight of authority on this question
                                                                          This is because he has failed to allege that he is an
and, at this stage of the case, concludes that Michel's claims
                                                                          undergraduate student.
do not implicate the educational malpractice doctrine. Michel
                                                                          The Amended Complaint merely alleges that
has not, as Yale argues, challenged the adequacy of the online
                                                                          Michel is a “student” at Yale, see Am. Compl.
instruction he received. That view rests upon a fundamental
                                                                          ¶¶ 1, 18, and never specifies whether he is
error of reasoning—namely, it mistakes a relative property
                                                                          an undergraduate or graduate student. While it
for an absolute property. It does not follow that, because
                                                                          might appear that Michel's focus on undergraduate
Michel has alleged the online instruction he received was
                                                                          tuition, id. ¶ 4, undergraduate courses, id. ¶ 22,
not as good as the in-person education he paid for (relative),
                                                                          undergraduate policies and regulations, id. ¶¶ 23
Michel has alleged the online instruction he received was
                                                                          n.3, 26 n.8, and undergraduate housing, id. ¶ 25
inadequate (absolute). 5 The essence of Michel's claims is that
                                                                          & n.7, permits the inference that he himself is an
Yale promised, and failed, to provide in-person educational
                                                                          undergraduate, that is not the case. Michel relies
services and to refund his tuition and fees in the event
                                                                          on these allegations in seeking to represent a class
those services could not be provided. This is “a paradigmatic
                                                                          of both undergraduate and graduate students at
contract claim,” Rhodes, 2021 WL 140708, at *4, and it
                                                                          the University. See id. ¶ 51; see also Opposition
does not require the court to “defin[e] what constitutes
                                                                          at 18. The court therefore cannot infer that these
a reasonable educational program and ... decid[e] whether
                                                                          undergraduate-focused allegations are meant to
that standard has been breached” by the remote educational
                                                                          support the claims of only undergraduate students,
experience provided by Yale. Gupta, 239 Conn. at 591-92.                  with Michel being one of them. Moreover, Michel
Further, the court reads Michel's focus on the difference in              also attempts to support his claims with allegations
“value” between in-person and online education as being                   concerning the price of a graduate program at Yale,
“limited to alleging damages from the defendant's alleged                 id. ¶ 46, and a faculty handbook applicable to both
breach of contract, not an allegation that any decreased                  undergraduate and graduate programs, see id. ¶ 24
                                                                          & n.4; see also Opposition at 19-20 (Doc. No. 46).
value constitutes the breach of contract.”  Oyoque, 2021
                                                                          The court thus reads the Amended Complaint
WL 679231, at *2 (emphasis in original); see also Metzner,
                                                                          as bringing claims on behalf of a putative class
2021 WL 1146922, *8 (emphasizing that Gupta’s standard
                                                                          consisting of both undergraduate and graduate
focused not on “the nature of damages” but rather on “the
                                                                          students and cannot discern, from the face of the
theory of liability alleged”);    Hassan, 2021 WL 293255,                 Amended Complaint, to which set of students



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       Michel belongs. This deficiency is, in and of                       matters, such as faculty, curriculum,
       itself, fatal to the Amended Complaint. Without                     requirements, costs, facilities and
       the basic information of whether Michel was an                      special programs, application of
       undergraduate or graduate student, the court cannot                 contract principles based on these
       know whether the Amended Complaint's alleged                        documents and other express or
       promise of an in-person educational experience for                  implied promises, consistent with the
       undergraduate students applies to him.                              limitations expressed in Gupta ...,
       However, because the Amended Complaint alleges                      appears sound.
       that undergraduate students at Yale were promised
       an in-person educational experience, see Am.
       Compl. ¶¶ 4, 22, 25, the court assumes, for the        Burns v. Quinnipiac Univ., 120 Conn. App. 311, 320-21
       purposes of the following analysis, that Michel
                                                              (2010) (brackets and ellipses omitted) (quoting Johnson v.
       is an undergraduate student and analyzes the
                                                              Schmitz, 119 F. Supp. 2d 90, 93 (D. Conn. 2000)). In view of
       undergraduate claim for breach of contract. To the
                                                              these principles, the court concludes that Michel has failed to
       extent that Michel asserts a breach of contract
                                                              state a claim for breach of contract, for the following reasons.
       claim on behalf of graduate students, that claim is
       dismissed because Michel has failed to make any
       allegations regarding any particular educational
       experience promised to graduate students. Michel                 1. Yale's Transition to Online Education
       may replead claims on behalf of graduate students
       in a second amended complaint if he has a basis to     As an initial matter, the court notes that Michel alleges two
       do so.                                                 separate contract breaches. First, Michel alleges that Yale
                                                              agreed to provide him an in-person education and breached
 *6 “The elements of a breach of contract claim are the
                                                              that agreement by not providing it the final five weeks of the
formation of an agreement, performance by one party, breach
                                                              semester. 7 See Am. Compl. ¶¶ 64-65. He points to various
of the agreement by the other party, and damages.” Meyers     documents and publications which he alleges constitute Yale's
v. Livingston, Adler, Pulda, Meiklejohn & Kelly, P.C., 311    promise. See, e.g., id. ¶ 22 (alleging that each class in
Conn. 282, 291 (2014). In Connecticut,                        Yale's course catalogue specifies the physical classroom in
                                                              which the course will be held); id. ¶ 24 (alleging that Yale's
                                                              Residential Colleges website promises a “singular” in-person
            the basic legal relation between                  experience for undergraduate students).
            a student and a private university
            or college is contractual in nature.              7      Michel maintains that he does not challenge Yale's
            There seems to be no dissent from
                                                                     decision to move classes online, see Opposition
            the proposition that the catalogues,
                                                                     at 3, but that contention cannot be squared with
            bulletins, circulars, and regulations
                                                                     the allegations in the Amended Complaint, which
            of the institution determine the
                                                                     characterize Yale's switch to online instruction
            contractual relationship between the
                                                                     as a breach of contract. See Am. Compl. ¶ 64
            student and the educational institution.
                                                                     (“Yale has failed to provide the contracted-for
            A court that is asked to enforce an
                                                                     services.” (emphasis added)); id. ¶ 65 (alleging
            asserted contract between a student
                                                                     that “Yale's breach” “result[ed]” in “deprivation
            and his university must examine the
                                                                     of the education, experience, and services [Michel
            oral and written expressions of the
                                                                     was] promised”); Opposition at 12 (asserting that
            parties in light of the policies and
                                                                     “Yale promised an in-person education” but “did
            customs of the particular institution.
                                                                     not [perform]”).
            Because a student bases his or
            her decision to attend a college or               However, Michel also relies on a provision of
            university, in significant part, on the           Yale's Undergraduate Regulations (hereinafter, “Suspension
            documents received concerning core



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Provision”) that totally undercuts his claim. The Suspension      in exchange for an education which the University expressly
Provision, as set forth in the Amended Complaint, provides:       provided that it could modify, then the [plaintiffs] have no
                                                                  claim of breach based on the University's having provided
                                                                  such a modified education.”), reconsideration denied sub
                                                                  nom. Dougherty v. Univ., 2021 WL 2310094 (D.N.J. June 7,
            Temporary Suspension of University                    2021); see also Romankow v. New York Univ., No. 20 CIV.
            Operations. In the unlikely event                     4616 (GBD), 2021 WL 1565616, at *4 (S.D.N.Y. Apr. 21,
            that public health or other significant               2021) (concluding that a disclaimer in the school's bulletin
            safety or security concerns cause                     made “clear that NYU expressly reserved the right to change,
            the University temporarily to suspend
                                                                  relocate, and/or modify its course offerings”);      Smith v.
            University programs and operations,
                                                                  Univ. of Pennsylvania, No. CV 20-2086, 2021 WL 1539493,
            the University will make arrangements
                                                                  at *7 (E.D. Pa. Apr. 20, 2021) (“Penn retained [through its
            for appropriate refunds, consistent
                                                                  ‘Suspension of Normal Operations’ provision] the right to
            with the principles enunciated in
                                                                  modify and cancel classes if the circumstances called for
            these Regulations, as may in its
                                                                  it, further underscoring the lack of a guarantee of in-person
            judgment be warranted in light of all
                                                                  instruction.”).
            the circumstances of the suspension
            and consistent with applicable law
                                                                  The court concludes that Michel has failed to plausibly
            and regulations. The decision to
                                                                  allege that Yale breached an agreement to provide him an in-
            suspend programs shall be made at
                                                                  person education. Accordingly, this breach of contract claim
            the discretion and judgment of the
                                                                  is dismissed.
            University. 8


                                                                       2. Yale's Decision Not to Refund Tuition and Fees
 *7 Am. Compl. ¶ 26 (quoting Yale University, Yale
College Undergraduate Regulations 2019-2020 (last visited         Second, Michel alleges that Yale agreed to provide a refund
July 6, 2021), http://catalog.yale.edu/archive/2019-2020/         if a pandemic forced the University to suspend operations,
undergraduate-regulations/regulations/financial-services/)        and breached that agreement by not partially refunding his
(emphasis added).                                                 tuition and fees. See Am Compl. ¶ 26, 64; see also Opposition
                                                                  at 8. Here again, Michel relies on the Suspension Provision
8                                                                 in Yale's Undergraduate Regulations by emphasizing its
       Michel argues that this provision applies because
       he has alleged that Yale suspended its operations          language stating that “[i]In the unlikely event that public
       by “ceas[ing] in-person instruction and clos[ing] its      health ... concerns cause the University temporarily to
       campus.” Opposition at 9 (citing Am. Compl. ¶¶             suspend University programs and operations, the University
       6, 30-31). The court assumes that the provision is         will make arrangements for appropriate refunds, consistent
       applicable.                                                with the principles enunciated in these Regulations, as may
                                                                  in its judgment be warranted.” Opposition at 8 (quoting Am.
Plainly, the Suspension Provision explicitly reserves Yale's
                                                                  Compl. ¶ 26).
right to temporarily suspend—at its “discretion and
judgment”—its operations in response to emergencies. In so
                                                                  Yale argues that the Suspension Provision is inapplicable
doing, it specifically cites “public health” concerns as being
                                                                  because the University did not “suspend” its operations, it
among those exigencies that might require the suspension
                                                                  modified them. See Motion at 15; Reply at 5. However,
of operations. Thus, Yale's decision to suspend in-person
                                                                  Michel alleges that, for five weeks, Yale ceased in-person
education in light of the COVID-19 pandemic represents an
                                                                  instruction and closed its campus to students. Am. Compl. ¶¶
exercise of authority expressly reserved to the University, and
                                                                  6, 30-31. The court cannot conclude, as a matter of law, that
the exercise of that authority cannot constitute a breach. See
                                                                  these actions did not constitute a “suspension” of operations
Crista v. Drew Univ., Civ. No. 21-00249 (KM) (ESK), 2021
                                                                  within the meaning of the Undergraduate Regulations.
WL 1422935, at *8 (D.N.J. Apr. 14, 2021) (“If, viewed in
contractual terms, the [plaintiffs] paid the University tuition



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 *8 Michel's breach of contract claim on this score fails          exercising its discretion, Yale was required to even consider,
for a different reason, however. As with the decision              much less ensure, such equitable outcomes. This allegation
to suspend operations, the provision Michel relies upon            simply indicates that Michel disagrees with Yale's decision
expressly commits the decision of whether to issue a refund        and, at best, supports the inference Yale was negligent or
to the University's discretion. Am. Compl. ¶ 26 (“[T]he            injudicious in exercising its discretion. However, the court
University will make arrangements for appropriate refunds ...      cannot infer that Yale acted with “dishonest purpose or
as may in its judgment be warranted.”). The court reads            moral obliquity” simply because it exercised its discretion
the Amended Complaint to allege that the way in which              in a manner that appears to be economically imbalanced to
Yale exercised its discretion under this provision breached        Michel. See Richards v. Direct Energy Servs., LLC, 246 F.
the implied covenant of good faith and fair dealing. See
                                                                   Supp. 3d 538, 558 (D. Conn. 2017) (quoting         Wilson v.
Am. Compl. ¶ 26 (stating that Yale's “promise ... must be
                                                                   Amerada Hess Corp., 168 N.J. 236, 251 (2001) (“Without
performed and interpreted in good faith”).
                                                                   bad motive or intention, discretionary decisions that happen
                                                                   to result in economic disadvantage to the other party are
“To constitute a breach of the implied covenant of good faith
and fair dealing, the acts by which a defendant allegedly          of no legal significance.”)), aff'd,      915 F.3d 88 (2d Cir.
impedes the plaintiff's right to receive benefits that he or       2019);     Liston-Smith v. CSAA Fire & Cas. Ins. Co., No.
she reasonably expected to receive under the contract must         3:16-CV-00510 (JCH), 2016 WL 6246300, at *2 (D. Conn.
have been taken in bad faith.” De La Concha of Hartford,           Oct. 25, 2016) (“Bad faith requires more than a dispute over
Inc. v. Aetna Life Ins. Co., 269 Conn. 424, 433 (2004); see        the discretionary application or interpretation of a contract
also 23 Williston on Contracts § 63:22 (4th ed. 2018) (“[A]s
long as the discretion is exercised as permitted under the         term.”) (quoting  Celentano v. Oaks Condominium Assn.,
contract, and without evident bad faith motive or malice,          265 Conn. 579 (2003)).
its exercise cannot be a breach of the more general implied
promise of good faith and fair dealing.”). Establishing bad         *9 Michel further alleges that, by not issuing a partial refund,
faith generally requires “both actual or constructive fraud,       Yale is “attempting to pass off [the] substitute educational
or a design to mislead or deceive another, or a neglect or         experience” provided as being equivalent in value to the one
refusal to fulfill some duty or some contractual obligation,       for which Michel paid, id. ¶¶ 35-36, 50. While the language
not prompted by an honest mistake as to one's rights or            used in the Amended Complaint does suggest some sort of
                                                                   dishonest intent (“attempting to pass off”), this is a conclusory
duties, but by some interested or sinister motive.” Gabriel        assertion, not a factual allegation. The court cannot, and
v. Liberty Mut. Fire Ins. Co., No. 3:14-CV-01435 (VAB),            does not, draw the inference that, because Yale exercised its
2017 WL 6731713, at *9 (D. Conn. Dec. 29, 2017) (quoting           discretion in a manner with which Michel disagrees, some
    Habetz v. Condon, 224 Conn. 231, 237 (1992)). “Bad             sinister motive was at play.
faith is not simply bad judgment or negligence, but rather it
implies the conscious doing of a wrong because of dishonest        Michel has failed to state a plausible claim that Yale breached
purpose or moral obliquity. [I]t contemplates a state of mind      its duty of good faith and fair dealing by exercising its
affirmatively operating with furtive design or ill will.” Miller   discretion in bad faith. Accordingly, this breach of contract
Auto. Corp. v. Jaguar Land Rover N. Am., L.L.C., No. 3:09-         claim is dismissed without prejudice to refiling.
CV-1291 EBB, 2010 WL 3417975, at *4 (D. Conn. Aug. 25,
2010) (alteration, emphasis, and ellipses omitted) (quoting
                                                                      C. Unjust Enrichment
   Buckman v. People Express, Inc., 205 Conn. 166, 171             In the alternative to his breach of contract claims, Michel
(1987)).                                                           brings a claim for unjust enrichment. “A right of recovery
                                                                   under the doctrine of unjust enrichment is essentially
The court concludes that Michel has failed to allege facts         equitable, its basis being that in a given situation it is contrary
plausibly showing that Yale's decision not to refund tuition       to equity and good conscience for one to retain a benefit
and fees was made in bad faith. Michel alleges that Yale
                                                                   which has come to him at the expense of another.”       Town
“failed to apportion the burden [of the pandemic] in an
                                                                   of New Hartford v. Connecticut Res. Recovery Auth., 291
equitable manner.” Am. Compl. ¶ 8. That may very well
                                                                   Conn. 433, 451 (2009). “Plaintiffs seeking recovery for unjust
be, but nothing in the Suspension Provision suggests that, in



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enrichment must prove (1) that the defendants were benefited,       v. Naugatuck Valley Women's Health Specialists, P.C., No.
(2) that the defendants unjustly did not pay the plaintiffs for     UWYCV146022762S, 2015 WL 3519101, at *5 (Conn.
the benefits, and (3) that the failure of payment was to the        Super. Ct. May 7, 2015) (quoting Darsten Techs. v. Golden
                                                                    Compass, Inc., No. CV136043132S, 2014 WL 2853805, at
plaintiffs’ detriment.”    Id. at 451-52.
                                                                    *3 (Conn. Super. Ct. May 16, 2014)).
Michel alleges that he conferred a benefit on Yale by paying
                                                                     *10 Here, Michel has brought a claim for unjust enrichment
tuition and fees for the Spring 2020 semester. Am. Compl.
                                                                    while alleging, in that same count, the existence of a contract
¶¶ 69, 70. He further alleges that, for the final five weeks
                                                                    and the breach thereof. See Am. Compl. ¶ 67 (alleging in
of the semester, Yale provided an allegedly less valuable
                                                                    unjust enrichment count that “Plaintiff restates, realleges and
online education instead of the allegedly higher value in-
                                                                    incorporates by reference the allegations contained in all
person education for which he paid, and did not refund any of
                                                                    preceding paragraphs of this [Amended] Complaint as if fully
the monies paid for services it did not provide. Id. ¶¶ 6, 30-31,
                                                                    set forth herein.”); id. ¶¶ 61, 64 (alleging in breach of contract
71-73. As a result, Michel has, to his detriment, allegedly paid
                                                                    count that Michel “entered into a binding contract with Yale”
money in excess of what he received. Id. ¶¶ 73, 75.
                                                                    and that Yale has “not performed under the contract”). “[T]his
                                                                    is not alternative pleading, but rather is internally and legally
Yale argues that Michel cannot maintain an unjust enrichment
                                                                    inconsistent within the count itself.” Marjanovic, 2015 WL
claim because he has alleged that there is an enforceable
                                                                    3519101, at *5 (quoting Darsten, 2014 WL 2853805, at *3).
contract between the parties. Mot. to Dismiss at 23. However,
                                                                    Michel has therefore failed to assert a distinct, alternative
Michel ostensibly brings his unjust enrichment claim in the
                                                                    cause of action. Marjanovic, 2015 WL 3519101, at *5; see
alternative, which is specifically permitted by the Federal
                                                                    also
Rules of Civil Procedure. Fed. R. Civ. P. 8(d)(2). Moreover,
Yale disputes the existence of a contract to provide Michel
                                                                    Accordingly, the court dismisses Michel's unjust enrichment
an in-person education or to provide a refund if such an
                                                                    claim without prejudice to refiling.
education is not possible. Mot. to Dismiss at 14-15. Thus,
dismissal of Michel's unjust enrichment claim merely on
the ground that he has alleged an enforceable contract                D. CUTPA
would be premature at this stage. See Metzner, 2021 WL              CUTPA provides that “[n]o person shall engage in unfair
1146922, at *10 (“[I]n light of the parties’ dispute as to          methods of competition and unfair or deceptive acts or
the existence of an enforceable contract, dismissal of the          practices in the conduct of any trade or commerce.”
Plaintiffs’ unjust enrichment claim is inappropriate at this
                                                                       Conn. Gen. Stat. § 42-110b(a). An act or practice is
juncture.”);    Chong, 2020 WL 7338499, at *4 (same);               deceptive if three elements are satisfied: “First, there must
   Bergeron v. Rochester Inst. of Tech., No. 20-CV-6283             be a representation, omission, or other practice likely to
(CJS), 2020 WL 7486682, at *9 (W.D.N.Y. Dec. 18, 2020)              mislead consumers. Second, the consumers must interpret
(same).                                                             the message reasonably under the circumstances. Third, the
                                                                    misleading representation, omission, or practice must be
Yale also argues, however, that Michel's unjust enrichment          material—that is, likely to affect consumer decisions or
claim cannot survive because it expressly incorporates his          conduct.” Cadco, Ltd. v. Doctor's Assocs., Inc., 188 Conn.
breach of contract claim. Mot. to Dismiss at 23; see also Reply     App. 122, 142 (2019) (quoting Caldor, Inc. v. Heslin, 215
at 8. On this point, the court agrees.                              Conn. 590, 597 (1990), cert. denied, 498 U.S. 1088 (1991)).
                                                                    “[A] party need not prove an intent to deceive to prevail
“The lack of a remedy under a contract is a precondition to         under CUTPA.” Cadco, Ltd., 188 Conn. App. at 142 (quoting
recovery based on unjust enrichment.” Ravski v. Connecticut            Cheshire Mortgage Service, Inc. v. Montes, 223 Conn. 80,
State Med. Soc., IPA, Inc., No. X01CV044000582S, 2005               106 (1992)).
WL 469300, at *5 (Conn. Super. Ct. Jan. 26, 2005). Thus,
under Connecticut law, “[a] party may properly plead an             Michel alleges that Yale engaged in deceptive practices in
unjust enrichment claim in the alternative to a breach of           violation of CUTPA “by falsely representing and passing
contract claim, but it cannot be accomplished by the express        off to Plaintiff and Class members that online education has
incorporation of a claim of a breach of contract.” Marjanovic       the same value as in-person education.” Am. Compl. ¶ 79.


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Michel further alleges that “Yale's representations as to the      that Yale raised this argument for the first time in its Reply,
quality and value of its online classes as compared to in-         given that Michel's Opposition responds to—and cites—
person education had the tendency to mislead,” and that Yale       this argument as it appears in Yale's Motion to Dismiss.
intended for students to rely on the University's misleading       Opposition at 18-21.
representations. Id. ¶¶ 80, 81.
                                                                   9      Yale does not provide a basis for its assertion
This claim is unfounded. The Amended Complaint does not                   that Michel is an undergraduate student. As noted
identify a single representation or omission that Yale made               above, the court cannot discern from the Amended
regarding the value of the online educational experience it               Complaint whether Michel is an undergraduate or
provided in light of the pandemic. Certainly, Michel makes no
                                                                          graduate student. See supra note 6.
factual allegations that support his conclusory assertion that
Yale “falsely represent[ed] and pass[ed] off” that its online      The court denies Michel's Motion for Leave to File Sur-
education “has same value as in-person education.” Id. ¶ 79.       Reply. 10
The court reads the Amended Complaint to suggest that Yale's
decision not to partially refund tuition and fees constitutes a    10     The court does not regard Yale to argue that Michel
representation about the relative value of online and in-person           lacks Article III standing to assert his claims, see
education. See id. ¶¶ 35-36 (“[I]n [refusing to refund tuition            Motion at 27; Reply at 10, and any such argument
and related expenses], Yale is ... attempting to pass off this            should have been made in a motion pursuant to
substitute educational experience as the same as or just as
good as full participation in the university's academic life.”).             Federal Rule of Civil Procedure 12(b)(1). To the
This framing of Yale's decision is conclusory and without                 extent Yale argues that Michel lacks class standing
basis. Michel offers no support for the proposition that a                to assert claims on behalf of graduate students,
university's decision not to take a certain discretionary action          the court has not considered or addressed that
may constitute a misleading representation that satisfies the             argument here. If Michel repleads his claims and
first element of a deceptive practices CUTPA claim.                       subsequently reaches the class certification stage,
                                                                          the court will take up any arguments regarding
The court concludes that Michel has failed to state a plausible           class standing at that time.     Petrosino v. Stearn's
claim for relief under CUTPA. Accordingly, this claim is                  Prods., Inc., No. 16-CV-7735 (NSR), 2018 WL
dismissed without prejudice to refiling.                                  1614349, at *5 (S.D.N.Y. Mar. 30, 2018) (citing
                                                                          cases) (deferring consideration of the class standing
                                                                          question to the class certification stage).
   E. Michel's Motion for Leave to File a Sur-Reply Brief
 *11 Finally, the court denies Michel's Motion for Leave
                                                                   V. CONCLUSION
to File Sur-Reply Brief, or in the Alternative, to Strike
                                                                   For the reasons stated above, the court grants Yale's Motion
Defendant's Reply (“Mot. for Leave to File Sur-Reply”) (Doc.
                                                                   to Dismiss (Doc. No. 41). Michel's breach of contract, unjust
No. 55). In its Reply to Michel's Opposition, Yale argued
                                                                   enrichment, and CUTPA claims are dismissed. The court
that Michel's claims on behalf of graduate students should
                                                                   dismisses the following claims without prejudice: Michel's
be dismissed because Michel is an undergraduate and his
                                                                   breach of contract claim on behalf of undergraduates asserting
allegations focus on undergraduate students. Reply (Doc. No.
                                                                   that Yale's decision not to partially refund tuition for the
52) at 10. Michel then moved for leave to file a Sur-Reply,
                                                                   Spring 2020 semester breached the implied covenant of good
seeking an opportunity to respond to this argument, which
                                                                   faith and fair dealing; Michel's unjust enrichment claim;
Michel contends Yale raised for the first time in its Reply.
                                                                   Michel's CUTPA claim; and Michel's breach of contract
Mot. for Leave to File Sur-Reply at 1. However, it is clear
                                                                   claim on behalf of graduate students. Michel may replead
that Yale raised this very argument in its Motion to Dismiss.
                                                                   these counts, if he is able. Michel's claim for breach of
Mot. to Dismiss at 27 (arguing that “[Michel's] claims on
                                                                   contract based on Yale's alleged promise to provide in-person
behalf of non-undergraduate students should be dismissed”
                                                                   education is dismissed with prejudice.
because “[he] is an undergraduate” and his allegations do
not “address[ ] anyone other than undergraduates”). 9 Indeed,      Michel's Motion for Leave to File Sur-Reply (Doc. No. 55)
the court is puzzled, to say the least, by Michel's contention     is denied.



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SO ORDERED.                                             Slip Copy, 2021 WL 2827358

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